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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                       Judge R. Brooke Jackson

Case No. 18-cr-00293-RBJ                                             Date April 8, 2019

Case Title: United States v. John Van Wu

                                    GOVERNMENT WITNESS LIST

              WITNESS                                  TIME ESTIMATED FOR EXAMINATION

     SA Michael Tonozzi                                             45 Minutes

     Annie Jiang                                                    30 Minutes

     Ruiyuan Jiang                                                  30 Minutes

     Rebecca Reynolds                                               30 Minutes

     May Vang Eddy Bounmark                                         30 Minutes

     Mee Yang                                                       30 Minutes

     Fran Shirek                                                    30 Minutes

     Lan Ha                                                         30 Minutes

     Hon Huynh                                                      30 Minutes

     Thanh Dinh                                                     30 Minutes

     Miriam Olea                                                    30 Minutes

     Sofia Torres                                                   30 Minutes

     Jose Torres                                                    30 Minutes

     Dianna Kong                                                    30 Minutes

     Lydia Torres                                                   30 Minutes

     Nikki Jiang                                                    30 Minutes

     Amanda Vang                                                    30 Minutes

     Dr. Elizabeth Kraft                                            90 Minutes

     SI Steven Winter                                               45 Minutes
